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Case 2:02-cv-02695-SHI\/| Document 170 Filed 08/15/05 Page 1 of 5 Page|D 117

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IN THE UNITED sTATEs DISTRICT coUR'J.'
FoR THE WESTER.N DISTRICT oF TENUWBE,S PH 3_ 21
` WESTERN DIvIsIoN °

 

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INVENTORY LocAToR sERvI cE , vg;:;j. gc 111 :;1;1011"8
Plaintiff,

van Noe 02-2695_Mav

PARTSBASE, INC.,

Defendant.

 

ORDER

 

On August 12, 2005, the court received a letter Randall D.
Noel, counsel for' plaintiff, requesting' a. hearing' be held on
plaintiff's June 20, 2005 Motion to Dismiss Defendant Partsbase's
Counterclaims Due to Spoliation of Evidence which has been referred
to the magistrate judge for a report and recommendation.

Counsel is cautioned that it is not appropriate for a party to
initiate an §§ parte communication with a judge or magistrate
judge. Local Rule 83.5(a) provides, in pertinent part, as follows:
"A copy of all letters sent to a judge shall also be sent to all
other counsel involved in the action (or any party acting pro se)
and to the Clerk of the Court." Nothing on the face of counsel's
letter indicates that a copy was sent to defense counsel and to the

Clerk. The Clerk is ORDERED to file the letter, and plaintiff’s

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wlth Rule 58 and/or 79(3} FHCP on-Z_°_LM 20

Case 2:02-cv-02695-SHI\/| Document 170 Filed 08/15/05 Page 2 of 5 Page|D 118

counsel is ORDERED to send defense counsel a copy of his letter and
to file a certificate of service with the Clerk.

IT IS SO ORDERED this 15th day of August, 2005.

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DIANE K. VESCOVO
UNITED S'I'ATES MAGISTRATE J`U'DGE

Case 2:02-cv-02-695-SHM__DQQL1H1th11701 S|:i|qu O§/A15/05 Page 3 of 5 Page|D 119

ARMSTRONG ALLEN

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RECE|VED

The Honorable Diane K. Vescovo AUG ]
United States Magistrate Judge 2 2005
Western District of Tennessee '

Westem Division Diane K. Vescovo
341 Ciifford oavis Federai sundng U-S- Magi$irate Judge
167 North Main Street

Memphis, TN 38103

Re: Inventory Locator Service, LLC vs. Partsbase, Inc.
Civil Action No. 02-2695-Ma V

Dear Judge Vescovo:

I am the local counsel for Inventory Locator Service, LLC (“ILS”) in the above-captioned
matter. As you are aware, Judge Mays has recently entered an order referring ILS’s Motion to
Dismiss Defendant Partsbase’s Counterclaims Due to Spoliation of Evidence.

Although l recognize that the Local Rules provide that the mechanism for requesting a
hearing on a motion is to do so either in the motion itself or in the response to the motion, the
purpose of this letter is to request that this Court hold a hearing on ILS’s motion, which raises
very important issues in this litigation

In addition to the original motion and brief in support filed by ILS, and the response in
opposition filed by Def`endant Partsbase, Inc. (“Partsbase”) there have been further filings in the
form of a reply brief filed by ILS, and a surreply filed by Partsbase. In lieu of filing a response
to the surreply, Which we expect Would simply perpetuate even further briefing by Partsbase, we
believe that the scheduling of a hearing on this critically important motion Would be a productive
and efficient endeavor f`or both the parties and the Court.

Thank you for your consideration of this matter.

Yours very truly,

sam

Randall D. Noel

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 170 in
case 2:02-CV-02695 Was distributed by f`aX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Case 2:02-cv-02695-SH|\/| Document 170 Filed 08/15/05 Page 5 of 5 Page|D 121

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Honorable Samuel Mays
US DISTRICT COURT

